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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA

FATHALLA MASHALI,

i
l
v. l NO. 14CR 10067 RWZ
l
|
Defendant. I

|

 

PROPOSED ORDER TO REMOVE RESTRAINT ON AMERI'I`RADE ACCOUNT
OF NOHA ELKADRY MASHALI

lT IS HEREBY ORDERED that the restraint on the Ameritrade Account (#XXXXZIOO)

ofNoha Elkadry Mashali be removed to allow for her access to this account.

So ordered

»,f`i` ZM

Dated: April Q, 2018 zob J.

